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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

 PATRICE NICOLE PITRE                       CIVIL No.

 Plaintiff

 V.
DRIFTWOOD HOSPITALITY MANAGEMENT II,
LLC; SHERATON PUERTO RICO MANAGEMENT,
LLC; TISHMAN HOTEL AND REALTY LP;
D/B/A SHERATON OLD SAN JUAN HOTEL;           JURY TRIAL DEMANDED
MUNICIPALITY OF SAN JUAN.
Defendants




                                 COMPLAINT

TO THE HONORABLE COURT:

      Comes now the Plaintiff, through the undersigned attorneys,

and before this Honorable Court respectfully alleges and prays as

follows:

                               I. THE PARTIES

1.    Plaintiff, Patrice M. Pitre is of legal age, single and

      domiciled in the State of Georgia, her current address is

      5234 Brentwood Rd, Atlanta, Georgia 30349.

2.    Co-Defendant,    Driftwood    Hospitality       Management      II,    LLC

      (hereinafter “Driftwood”)      is a     foreign limited        liability

      company, domiciled in the state of Florida, that is the




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     present owner and operator of the SHERATON OLD SAN JUAN HOTEL,

     a hotel located at #100 Brumbaugh Street, Old San Juan, P.R.

     00901.

3.   By   information     and     belief,      Co-Defendant,         Tishman    Realty

     Corporation,       LLC,    (hereinafter         “Tishman”)      is   a    limited

     liability corporation with headquarters in the state of New

     York, who was the owner of the Sheraton Old San Juan Hotel,

     until September 2021, when it was sold to Driftwood.

4.   Co-Defendant,        Driftwood           Hospitality         Management,       with

     headquarters in North Palm Beach, State of Florida is the

     managing arm of Driftwood Capital and it is said corporation

     the entity that owns, manages and operates Sheraton Old San

     Juan Hotel, and thus enjoys the economic benefit of the

     operations    of    this     hotel       and   is    the    entity   ultimately

     responsible for the safety of patrons like Mrs. Pitre from

     suffering accidents as described in this complaint due to

     negligence.

5.   Co-Defendant, The Municipality of San Juan (“MSJ”) is an

     autonomous municipality of the Commonwealth of Puerto Rico

     that   administers        public   services         and    governs   within    the

     geographical boundaries of the capital city of Puerto Rico,

     San Juan, and as such, is also responsible for the upkeep and

     proper maintenance of all sidewalks adjacent to public streets




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     within the municipality of San Juan in a safe and hazard free

     condition.

6.   Upon information and belief, A and B Corporation (unknown

     defendants at present) (“A Corp, B Corp”) is the name utilized

     to denominate other companies organized and existing under

     the Laws of Puerto Rico or another jurisdiction that is not

     Georgia, having their principal place of business in Puerto

     Rico, that at the time of the accident mentioned in this

     complaint,    were       the        owners    and/or     operators      and/or

     administrators of the Old San Juan Sheraton Hotel. At all

     relevant times herein, A and B Corp were either the owners of

     the premises or were responsible for maintaining the area

     where the accident occurred described in this complaint, in

     a safe and hazard free condition.

7.   Upon information and belief X, Y Insurance Companies (X, Y)

     are insurance companies organized and existing under the laws

     of Puerto Rico, having their principal place of business in

     Puerto Rico. At all relevant times herein, X, Y insurance

     companies had in full force and effect one or more insurance

     policies covering the legal liability of one or more of the

     defendants   mentioned         in    this    complaint    for   accidents    as

     described in this complaint.




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8.   Co-Defendants, JOHN DOE and JANE ROE are any individuals,

     legal     entities,         private          or       governmental         agencies,

     municipalities or entities that may be liable to the plaintiff

     here, or where otherwise responsible to the facts that are

     reported here and are called at this time by fictitious names

     ignored       the   real,    which    shall         be    notified    as    soon   as

     identified.

                                 II. JURISDICTION

7.   This Honorable Court has subject matter jurisdiction to

     entertain the instant case pursuant to 28 U.S.C. section 1332

     (a)     (1)    because   this   is       a   case        or   controversy    between

     citizens of different states and the amount in controversy

     is in excess of seventy-five thousand dollars ($75,000.00),

     exclusive of interest and costs.

8.   Pursuant to 28 U.S.C. Section 1392 (a) (2), venue if this

     action is proper in this district because the events, acts

     or omissions giving rise to the claims occurred in Puerto

     Rico.


              III. TOLLING OF THE STATUTE OF LIMITATIONS

9.   The accident that gives origin to the present case occurred

     on June 22, 2021, and thus, as per the Civil Code of Puerto

     Rico of 2020, at the time of filling the present complaint

     the statute of limitations of one (1) year has not elapsed.


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                          IV. THE FACTS AND THE DAMAGES


10.   Plaintiff checked in June 21, 2021 to the Sheraton Old San

      Juan Hotel as a guest.

11.   The next day, the morning of June 22, 2021, Plaintiff, while

      walking      back    from    Starbucks     towards   the      hotel,   via     the

      sidewalk on Brumbaugh Street, in front of the designated

      entrance to the hotel, she stepped on an extremely sloped

      area of the sidewalk and abruptly fell, seriously injuring

      herself as a direct result the fall.

12.   After the fall, Mrs. Pitre noticed that the floor area of the

      sidewalk and the ramp entrance to the hotel where she fell

      was uneven, sidewalk was slightly cracked, the area had an

      unmarked inclination, and yet no signs were posted indicating

      this dangerous condition of an uneven or cracked sidewalk

      right before the entrance to the hotel.

13.   As a direct result of the abrupt fall, Mrs. Pitre was injured

      and   felt    intense       pain,   particularly     to      his   right      hand,

      fingers, ankle and right leg.

14.   She filed an incident report with the hotel, was provided

      some assistance by hotel personnel, went to rest in her room

      and the next day decided to leave Puerto Rico to Atlanta,

      Georgia, to be medically treated, as she felt uncomfortable



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      in Puerto Rico with the Covid pandemic and the language

      barrier.

15.   Upon her return to Atlanta, Georgia, Plaintiff immediately

      seeked medical help and received emergency medical treatment

      for her injuries.

16.   After X Rays Mrs. Pitre was put on a sling and crutches as

      well as prescribed anti-inflammatory medication and rest.

17.   Plaintiff was referred to an orthopedic doctor who diagnosed

      she had two split fractures to her right ankle, was placed on

      a protective boot on her right ankle and wrist and ordered

      her not to go to work for a month to see if the ankle could

      heal by itself.

18.   Plaintiff rested in bed and was able to have limited mobility

      in her home via a knee scooter.       She is in pain and needs to

      use a plastic boot at all times.

19.   Because of his accident and the damages suffered, Plaintiff

      still suffers from pain and has numbness and tingling in her

      right hand and cannot go to work.       She needs to use a walking

      frame   and   has   extreme   difficulty   in   performing     rutinary

      movement.

20.   Plaintiff is a hair stylist and worked part time at Costco

      where she was due for a promotion, but due to the injuries




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      suffered she cannot stand on her feel and is off for a year.

      She has now lost her work medical insurance.

21.   The seriousness of the injuries affects Plaintiff’s ability

      to work to the same extent as she was able to work prior to

      the accident both as a stylist and at Costco, and to conduct

      various life activities.

22.   Plaintiff still experiences pain in her right ankle and hand

      and intermittent swelling.

23.   As a direct result of the injuries sustained, Mrs. Pitre has

      difficulty getting a goodnight sleep, performing household

      chores, and conducting various other daily activities due to

      the pain and discomfort in her right ankle and hand.

24.   The severe injuries suffered by Plaintiff, which are permanent

      in nature, have caused severe pain and suffering, distress,

      despair, embarrassment, discomfort, and mental                   and moral

      anguish, all of which are continuing now, and will continue

      permanently in the future.

25.   The   value   of   all   Plaintiff’s   damages     for     his    physical

      injuries, past, present and future pain, suffering and mental

      anguish and his permanent impairment is estimated in a sum in

      excess of TWO HUNDRED AND FIFTY THOUSAND DOLLARS ($250,000.00)

26.   As a direct result of the accident and the negligence of

      Defendants, Plaintiff has lost income and will continue to



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      loose income in a sum estimated in excess of FIFTY THOUSAND

      DOLLARS ($50,000), and has had to incur and will have to incur

      in unwanted personal and medical expenses, in a sum estimated

      in excess of TWENTY THOUSAND DOLLARS ($20,000), a sum that is

      also owed to the plaintiff by the defendants.

                               V. LIABILITY

25.   The accident resulting in the serious and severe damages to

      the Plaintiff was caused by the exclusive fault and negligence

      of the Defendants and their employees.

26.   Defendants failed to properly maintain its premises in a safe

      condition, keeping the same in a safe and hazardous free

      condition.

27.   At   all   material   times,    all    the   defendants,        and     their

      employees, had a duty to monitor and maintain the sidewalk

      and the hotel entrance even and free of cracks on the floor

      surface    where   patrons     were    expected     to   walk     through,

      particularly in route to the hotel entrance, in a reasonable

      safe and secure condition, to avoid accidents like the one

      described in the complaint.         This is particular so due to the

      fact that the entrance has an uneven surface, inclination and

      no handrails or signage to alert pedestrians of any dangerous

      condition.




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28.   Due   to    the    constant      guest     and     patron     traffic,      all     the

      defendants and their employees knew or should have known that

      allowing an uneven surface and a crack on the sidewalk right

      next to the entrance of the Hotel are hazardous conditions

      for their hotel guests, visitors and patrons.

29.   The   defendants,        as    owners,      managers,       administrators,          or

      operators     of    the       Sheraton      Old     San    Juan    Hotel    and      as

      responsible for maintaining the sidewalks in optimal shape,

      in particular, the area were the accident happened, were

      negligent in that they failed to either foresee the hazardous

      condition and/or to adequately provide for alert signage or

      safety      handrails,        among       other     remedial       measures.        All

      defendants failed to act.

30.   Because the sidewalk and the entrance to the hotel was cracked

      and the surface uneven, defendants and their employees failed

      to    exercise     due    diligence         to     avoid     foreseeable          risk.

      Defendants knowing that the sidewalk was cracked and entrance

      to the hotel was uneven, failed to correct the dangerous

      condition and failed to place warning signs or handrails prior

      to the occurrence of the accident.

31.   All   the    defendants,        their     employees       and     their    insurance

      companies are therefore jointly liable to the Plaintiff for

      all the damages suffered.




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32.   The accident would not have happened if not for the joint

      fault and negligence of the defendants and their employees.

      As either owners, managers, operators and/or administrators,

      the defendants had exclusive control of the area where the

      accident occurred and are the only parties responsible for

      the monitoring, maintenance, and upkeep of the same.

                       JOINT AND SEVERAL LIABILITIES

33.   Pursuant to Puerto Rico law, all defendants, to include A, B

      Corporations,    X,   Y,    Insurance      Companies        are   jointly    and

      severally liable for the damages claimed herein as a result

      of the accident described in this complaint.

                  PREJUDMENT INTEREST, ATTORNEY FEES AND COST

34.   In the event that the Defendants deny their negligence or

      liability in the occurrence of the events or damages caused

      to Plaintiff, by assuming such reckless conduct, Plaintiff is

      entitled to prejudgment interest to be computed over the

      amount   recovered       through    this    Complaint,       as   well   as    a

      reasonable amount of attorney fees, as permitted by law.

35.   Plaintiff demands trial by jury.

  WHEREFORE, it is respectfully requested that this Honorable

Court enter judgment for plaintiff, for the relief demanded in the

complaint with the imposition of reasonable attorneys’ fees and

costs.



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       In San Juan, Puerto Rico, this 11th day of MAY, 2022.


JENKS CARBALLEIRA LAW OFFICE
Garden Hills Plaza, PMB 565
1353 Luis Vigoreaux Avenue
Guaynabo, Puerto Rico 00966
Tel.(787) 439-3980
Email: edjenks@yahoo.com
ATTORNEYS FOR PLAINTIFF

s/ Eduardo R. Jenks
Eduardo R. Jenks
USDC-PR # 300110


S/José Sarró Pérez-Moris
José Sarró Pérez-Moris
USDC-PR 225503
sarrolaw@aol.com




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